Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 1 of 17




               EXHIBIT G
        Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 2 of 17



     MATTHEW C. HELLAND (SBN 250451)
 1   helland@nka.com
     NICHOLS KASTER, LLP
 2   235 Montgomery Street, Suite 810
     San Francisco, CA 94104
 3   Telephone: (415) 277-7235
     Facsimile: (415) 277-7238
 4
     PETER RUKIN (SBN 178336)
 5
     prukin@rukinhyland.com
 6   RUKIN HYLAND & RIGGIN LLP
     1939 Harrison Street, Suite 290
 7   Oakland, CA 94612
     Telephone: (415) 421-1800
 8   Facsimile: (415) 421-1700
 9   ALEXANDER HOOD (pro hac vice to be filed)
     alex@towardsjustice.org
10   TOWARDS JUSTICE
     1410 High Street, Suite 300
11   Denver, CO 80218
     Telephone: (720) 239-2606
12
     Attorneys for Plaintiffs
13   Katarzyna Kudlacz
14
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
15
                                    COUNTY OF SAN FRANCISCO
16

17    KATARZYNA KUDLACZ                                CASE NO.: CGC-20-584567
      andNATALIA BIEN, individually and on
18                                                     (UNLIMITED CIVIL CASE)
      behalf of all others similarly situated,
19                    Plaintiffs,                      FIRST AMENDED REPRESENTATIVE
20                                                     ACTION COMPLAINT FOR CIVIL
             v.
                                                       PENALTIES PURSUANT TO THE
21                                                     PRIVATE ATTORNEYS GENERAL ACT
      CULTURAL CARE, INC., a                           (LABOR CODE §2698, et seq.)
22
      Massachusetts Corporation;
                                                       DEMAND FOR JURY TRIAL
23    INTERNATIONAL CARE LIMITED, a
      Swiss Corporation; and DOES 1 through
24    25 inclusive,

25
                      Defendants.
26

27

28
                                     First Amended Complaint for Penalties
        Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 3 of 17



 1          Plaintiffs Katarzyna Kudlacz and Natalia Bien complain against Defendants Cultural

 2   Care, Inc. (“Cultural Care”), International Care Limited (“International Care”)(referred to

 3   collectively as “Defendants”) and Does 1 through 25, inclusive as follows:

 4                                          INTRODUCTION

 5          1.      Plaintiffs Katarzyna Kudlacz and Natalia Bien brings this action under the

 6   California Labor Code Private Attorneys General Act, Labor Code § 2698, et seq. (“PAGA”).

 7   Through this action, Plaintiffs Kudlacz and Bien seek to recover civil penalties on behalf of

 8   themselves and other current and former au pairs for Defendants’ violations of Cal. Labor Code

 9   §§ 201–204, 221, 224, 226, 226.7, 510, 512, 1174, 1194, 1194.2, 1194.5, the San Francisco

10   Minimum Wage Ordinance, the Industrial Welfare Commission Minimum Wage Order, and

11   Industrial Welfare Commission Wage Order 15.

12          2.      Defendants recruit, train, and employ in-home childcare workers who work in the

13   United States on J-1 au pair visas. According to the United States Department of State,

14   approximately 2800 J1 visa au pairs work in California each year. A significant portion of these

15   California au pairs are recruited, trained, placed, and employed by Defendants. Defendants are

16   all “employers” pursuant to Section 18 of the Labor Code and “employ” au pairs within the

17   meaning of the Wage Order.

18          3.      Defendants’ pay practices violated numerous provisions of Wage Order 15, the

19   Minimum Wage Order, and the Labor Code. Defendants have: (1) failed to pay minimum wage

20   (Cal. Labor Code §§ 1194, 1194.2, and 1194.5; IWC Wage Order; San Francisco Minimum

21   Wage Ordinance); (2) failed to provide meal periods (Cal. Labor Code § 512); (3) failed to

22   timely pay all wages owed (Cal. Labor Code § 204); (4) failed to pay wages upon termination

23   (Cal. Labor Code §§ 201–204); (5) made illegal deduction from wages or took illegal credits

24   against minimum wage, including for housing and meals (Cal. Labor Code §§ 221 and 224;

25   Wage Order 15); (6) failed to maintain records showing hours worked, breaks taken, and value

26   of room and board provided (Cal. Labor Code §§ 226, 226.7, 512 and 1174; Wage Order 15); (7)

27   failed to provide lawful wage statements (Cal. Labor Code § 226; Wage Order 15); and (8) failed

28   to pay overtime pay (Cal. Labor Code §§ 510 and 1194; IWC Wage Order 15).
                                                     2
                                     First Amended Complaint for Penalties
        Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 4 of 17



 1           4.      Plaintiffs challenge Defendants’ pay practices and seek civil penalties for

 2   Defendants’ violations of the California Labor Code, Minimum Wage Order and the Industrial

 3   Welfare Commission Wage Order.

 4                                             THE PARTIES

 5           5.      Plaintiff Katarzyna Kudlacz resides in the City and County of San Francisco,

 6   California. She worked for Defendants as an au-pair in California from June August or

 7   September of 2017 until May 2019.

 8           6.      Plaintiff Natalia Bien resides in the City and County of San Francisco, California.

 9   She worked for Defendants as an au-pair in California from November 2017 to November 2019.

10           7.      Defendant Cultural Care, Inc. is a Massachusetts Corporation doing business in

11   California. Its principal place of business is in Massachusetts.

12           8.      Defendant International Care Limited is a company incorporated in the Canton of

13   Zurich, Switzerland.

14                                    JURISDICTION AND VENUE

15           9.      This Court has jurisdiction over all causes of action asserted herein pursuant to

16   the California Constitution, Article VI, Section 10, which grants the Superior Court original

17   jurisdiction in all cases except those given to other trial courts.

18           10.     Plaintiffs seek damages exceeding the jurisdictional minimum of this Court.

19           11.     Venue in the County of San Francisco is proper under California Code of Civil

20   Procedure section 395.5 because the unlawful conduct at issue in this case occurred in the

21   County of San Francisco. In addition, Defendants conducted and continue to conduct substantial

22   business in this County and their liability arose, in part, in this County.

23                                     FACTUAL ALLEGATIONS

24           12.     Defendants recruit, train, and employ in-home childcare workers who work in the

25   United States on J-1 au pair visas. According to the United States Department of State,

26   approximately 2800 J1 visa au pairs work in California each year. A significant portion of these

27   California au pairs are recruited, trained, placed, and employed by Defendants.

28           13.     Defendant International Care acts as an employer of au pairs, including Ms.
                                                       3
                                       First Amended Complaint for Penalties
         Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 5 of 17



 1   Kudlacz and Ms. Bien, by, among other things, helping applicants qualify as au pairs, organizing

 2   insurance coverage for au pairs, preparing au pairs for their work in the United States, and

 3   making travel arrangements for au pairs. Employees of International Care meet with au pair

 4   applicants while they are abroad and advise them regarding the terms and conditions of their

 5   employment including, but not limited to, the amount of the weekly stipend they will receive as

 6   an au pair.

 7          14.     Defendant Cultural Care employs au pairs in the United States, including Ms.

 8   Kudlacz and Ms. Bien, by, among other things, training au pairs; communicating with au pairs

 9   regarding their maximum work hours, the performance of their job duties, and other terms and

10   conditions of their employment; and maintaining the right to terminate or reassign au pairs.

11          15.     Defendants operated as an integrated enterprise in the employment of au pairs.

12   For example, International Care holds itself out as “Cultural Care Au Pair” in public

13   communications. On information and belief, Defendants’ operations are interrelated, they work

14   under common management, and with common ownership or financial control.

15          16.     Defendants are also direct employers of au pairs, including Ms. Kudlacz and Ms.

16   Bien, individually and acting as alter egos of one another, because each exercise control over

17   wages, hours, and working conditions, and each engage au pairs.

18          17.     Defendants instruct host families to pay a weekly “stipend,” which they currently

19   describe, to both host families and au pairs, as a weekly payment of $195.75.1 This “stipend” is

20   part of the annual au pair cost breakdown of $19,553.25 advertised to host families by

21   Defendants. That $19,553.25 number includes fees paid to Defendants of $9,570 and leaves a

22   meager $9,983.25 per year for au pairs, who work up to 45 hours per week caring for children in

23   homes across California. On top of this systemic illegal underpayment, Defendants (1) fail to

24   provide meal periods after five hours of work; (2) take deductions or minimum wage credits—

25   including for meals and housing—that are contrary to California law; (3) fail to keep records of

26
     1
       See, e.g., https://culturalcare.com/pricing/ (“You will pay your au pair directly a minimum
27   stipend of $195.75 each week.”); https://www.ef.com/ca/pg/au-pair/ (“The money you earn as an
28   au pair is a weekly stipend of $195.75…” (quoted language appears after selecting “read more”
     near the top of the page)).
                                                         4
                                        First Amended Complaint for Penalties
        Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 6 of 17



 1   time worked, breaks taken, or meal and housing credits taken against minimum wage as required

 2   by California law; (4) fail to compensate au pairs at all for training time; (5) fail to provide wage

 3   statements with required information about pay, deductions, and withholding and (6) fail to pay

 4   the requisite overtime wages.

 5             18.   Ms. Kudlacz was one of Defendants’ au pairs in California, where she worked

 6   from August or September 2017 through May 2019. Prior to starting she was told her weekly

 7   stipend would be $195.75 per week. That amount was rounded up to a flat $200 per week. She

 8   did not receive any additional overtime payments. She regularly worked in the home for 8 or

 9   more hours in a day , regularly worked 45 hours in a week, and regularly worked on six

10   consecutive days. Ms. Kudlacz ended her employment in May 2019, and to date has not received

11   the additional wages she is owed.

12             19.   Ms. Bien was also one of Defendants’ au pairs in California, where she worked

13   from November 2017 through November 2019. Prior to starting she was told her weekly stipend

14   would be $195.75 and for the first year, from 2017 to 2018, she received $195.75. When she

15   began with a new family that amount was rounded up to $200.00 per week. She did not receive

16   any additional overtime payments. She regularly worked in the home for 9 hours in a day and

17   regularly worked 45 hours in a week. She sometimes worked over 9 hours in a day.

18             20.   Ms. Kudlacz, Ms. Bien and other au pairs did not enter into any agreement to

19   credit meals or lodging against Defendants’ minimum wage obligations, as required by Wage

20   Order No. 15. As such, the $195.75 and $200 stipend fell far below the minimum wage for 45

21   hours of work. To the extent Defendants seek credit for the value of any room or board without

22   Plaintiffs’ agreement such credit would be an unlawful repayment of wages to the employer

23   and/or an unlawful deduction from wages. Each weekly payment failed to properly compensate

24   Plaintiffs at least the minimum wage for all hours worked that week.

25             21.   Although Plaintiffs and other au pairs were able to eat a meal while they were

26   working, they remained on duty during those meals. Accordingly, Plaintiffs and other au pairs

27   often worked work periods of five or more hours without being relieved from duty for a meal

28   period.
                                                          5
                                         First Amended Complaint for Penalties
        Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 7 of 17



 1          22.     Upon information and belief, Defendants did not maintain any records of hours

 2   worked, breaks taken, or the value of room and board provided for Ms. Kudlacz, Ms. Bien and

 3   other au pairs. Defendants did not provide Ms. Kudlacz, Ms. Bien, and other au pairs with any

 4   wage statements whatsoever, much less a wage statement itemizing wages earned, hours worked,

 5   rates of pay, the name and address of the employer, deductions taken, net wages earned, the

 6   inclusive dates of the period, or the name of the employee.

 7          23.     Accordingly, Ms. Kudlacz, Ms. Bien, and other au pairs suffered from the

 8   systematic violations described above. Defendants’ pay practices violate numerous provisions of

 9   Wage Order 15, the Minimum Wage Order and the Labor Code. Defendants have:

10                  1) Failed to pay minimum wage.

11                  2) Failed to provide meal periods.

12                  3) Failed to timely pay all wages owed.

13                  4) Failed to pay wages upon termination.

14                  5) Made illegal deductions from wages, or took illegal credits against minimum

15                      wage, including for housing and meals.

16                  6) Failed to maintain records showing hours worked, breaks taken, and value of

17                      room and board provided.

18                  7) Failed to provide lawful wage statements.

19                  8) Failed to pay overtime pay.

20          24.     Plaintiffs allege that these violations are ongoing and continuing and that they

21   affected and continue to affect current and former au pairs who work or have worked for

22   Defendants in California.

23                           CLAIM FOR RELIEF
      CIVIL PENALTIES UNDER LABOR CODE PRIVATE ATTORNEY GENERAL ACT
24        (PRIVATE ATTORNEYS GENERAL ACT, LABOR CODE §2698, ET SEQ.)
25                        (REPRESENTATIVE ACTION)

26          25.     The allegations of each of the preceding paragraphs are re-alleged and
27   incorporated herein by reference, and Plaintiffs allege as follows a claim of relief on behalf of
28   themselves and all other similarly situated, as described below.
                                                          6
                                         First Amended Complaint for Penalties
        Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 8 of 17



 1          26.      Plaintiffs, as aggrieved au pairs/employees, bring this claim under California

 2   Labor Code §§ §§ 2698–2699 in a representative capacity on behalf of current and former au

 3   pairs of Defendants subjected to the unlawful wage and hour practices alleged herein.

 4          27.      The California Labor Code Private Attorneys General Act of 2004 (“PAGA”),

 5   California Labor Code § 2698 et seq., grants California employees the right to bring a civil

 6   action for the violation of any provision of the Labor Code on behalf of themselves and other

 7   current or former employees in order to recover civil penalties. PAGA is intended to assist in the

 8   achievement of maximum compliance with state labor laws by empowering aggrieved

 9   employees to act as private attorneys general in order to recover civil penalties for Labor Code

10   violations that would otherwise be prosecuted by the state. See Arias v. Super. Ct. (2009) 46 Cal.

11   4th 969, 980.

12          28.      PAGA permits an aggrieved employee to collect the civil penalty authorized by

13   law and normally collectible by the California Labor and Workforce Development Agency. To

14   address violations for which no penalty has been established, § 2699(f) creates a private right of

15   action for aggrieved employees and a default penalty in the amount of $100 for each aggrieved

16   employee per pay period for the initial violation, and $200 for each aggrieved employee per pay

17   period for each subsequent violation. See Cal. Lab. Code § 2699(f). Plaintiffs hereby seek to

18   collect these civil penalties for Defendants’ Labor Code violations, as described below.

19                                   Failure to Pay Minimum Wages

20          29.      The IWC Wage Orders, California Labor Code §§ 1194 and 1197, and the San

21   Francisco Minimum Wage Ordinance require employers to pay employees at least minimum

22   wage for all hours worked.

23          30.      IWC Wage Order No. 15, § 4(A) provides that “Every employer shall pay to each

24   employee wages not less than the following: (1) Any employer who employs 26 or more

25   employees shall pay to each employee wages not less than the following: (a) Ten dollars and

26   fifty cents ($10.50) per hour for all hours worked, effective January 1, 2017; (b) Eleven dollars

27   ($11.00) per hour for all hours worked, effective January 1, 2018; (c) Twelve dollars ($12.00)

28   per hour for all hours worked, effective January 1, 2019; and Thirteen dollars ($13.00) per hour
                                                          7
                                         First Amended Complaint for Penalties
        Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 9 of 17



 1   for all hours worked, effective January 1, 2020.

 2          31.     The San Francisco Minimum Wage Ordinance, San Francisco Administrative

 3   Code, Chapter 12R.4, provides in relevant part that “(a) Employers shall pay Employees no less

 4   than the Minimum Wage for each hour worked within the geographic boundaries of the City. (1)

 5   Except as provided in subsection 12R.4(b), the Minimum Wage paid to Employees shall be as

 6   follows: (A) Beginning on May 1, 2015, the Minimum Wage shall be an hourly rate of $12.25.

 7   (B) Beginning on July 1, 2016, the Minimum Wage shall be an hourly rate of $13.00. (C)

 8   Beginning on July 1, 2017, the Minimum Wage shall be an hourly rate of $14.00. (D) Beginning

 9   on July 1, 2018, the Minimum Wage shall be an hourly rate of $15.00. (E) Beginning on July 1,

10   2019, and each year thereafter, the Minimum Wage shall increase by an amount corresponding to

11   the prior year's increase, if any, in the Consumer Price Index for urban wage earners and clerical

12   workers for the San Francisco-Oakland-San Jose, CA metropolitan statistical area, as determined

13   by the Controller.” The San Francisco Minimum Wage beginning on July 1, 2019 was $15.59.

14          32.     Labor Code § 1197.1 provides in relevant part that: (a) Any employer or other

15   person acting either individually or as an officer, agent, or employee of another person, who pays

16   or causes to be paid to any employee a wage less than the minimum fixed by an applicable state

17   or local law, or by an order of the commission, shall be subject to a civil penalty, restitution of

18   wages, liquidated damages payable to the employee, and any applicable penalties imposed

19   pursuant to Section 203 as follows:
                    (1) For any initial violation that is intentionally committed, one hundred dollars
20                  ($100) for each underpaid employee for each pay period for which the
21                  employee is underpaid. This amount shall be in addition to an amount sufficient
                    to recover underpaid wages, liquidated damages pursuant to Section 1194.2,
22                  and any applicable penalties imposed pursuant to Section 203.

23                  (2) For each subsequent violation for the same specific offense, two hundred
                    fifty dollars ($250) for each underpaid employee for each pay period for which
24
                    the employee is underpaid regardless of whether the initial violation is
25                  intentionally committed. This amount shall be in addition to an amount
                    sufficient to recover underpaid wages, liquidated damages pursuant to Section
26                  1194.2, and any applicable penalties imposed pursuant to Section 203.

27          33.     Defendants have paid and caused Plaintiffs and other au pairs to be paid less than

28   less than the Minimum Wage for each hour worked.
                                                          8
                                         First Amended Complaint for Penalties
       Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 10 of 17



 1          34.     Under California Labor Code § 1197.1, Plaintiffs seek to recover a civil

 2   penalty of one hundred dollars ($100) for Plaintiffs and each underpaid employee per pay period

 3   for the initial violation, and two hundred fifty dollars ($250) for Plaintiffs and each underpaid

 4   employee for each subsequent violation.

 5                                      Failure to Pay Overtime Pay

 6          35.     The California Labor Code §§ 510, 1194, and 1197 require employers pay

 7   employees overtime compensation to non-exempt employees.

 8          36.     California Labor Code § 1454 entitles domestic workers who are also personal

 9   attendants to overtime pay at a rate of one and one-half times the regular rate of pay for all hours

10   worked over 9 hours in any workday or 45 hours in any workweek.

11          37.     By the course and conduct set forth above, Defendants violated Cal. Labor Code

12   §§ 510,1194, and 1454 by failing to pay overtime pay to Plaintiffs and other au pairs when they

13   worked in excess of 9 hours in a day or 45 hours in a week.

14          38.     Labor Code § 2699(f) provides: For all provisions of this code except those for

15   which a civil penalty is specifically provided, there is established a civil penalty for a violation of

16   these provisions, as follows: (1) If, at the time of the alleged violation, the person does not

17   employ one or more employees, the civil penalty is five hundred dollars ($500). (2) If, at the

18   time of the alleged violation, the person employs one or more employees, the civil penalty is one

19   hundred dollars ($100) for each aggrieved employee per pay period for the initial violation and

20   two hundred dollars ($200) for each aggrieved employee per pay period for each subsequent

21   violation.

22          39.     Under California Labor Code § 2699(f), Plaintiffs seek to recover a civil

23   penalty of one hundred dollars ($100) for Plaintiffs and each underpaid employee per pay period

24   for the initial violation, and two hundred fifty dollars ($250) for Plaintiffs and each underpaid

25   employee for each subsequent violation.

26                                          Timely Pay Violations

27          40.     Labor Code § 201 provides in relevant part that an employer is required to pay an

28   employee who is terminated all accrued wages and compensation at the time of termination.
                                                          9
                                         First Amended Complaint for Penalties
       Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 11 of 17



 1          41.     Labor Code § 202 provides in relevant part that an employer is required to pay an

 2   employee who quits employment all accrued wages not later than 72 hours thereafter, unless the

 3   employee has given 72 hours previous notice of his or her intention to quit, in which case the

 4   employee is entitled to his or her wages at the time of quitting.

 5          42.     Labor Code § 203 provides in relevant part that if an employer willfully fails to

 6   pay compensation promptly upon discharge, as required by § 201, then the employer is liable for

 7   waiting time penalties equivalent to the equivalent to the employee’s daily wage, for a maximum

 8   of 30 days.

 9          43.     Labor Code § 204(a) provides as follows: “All wages, other than those mentioned

10   in Section 201, 201.3, 202, 204.1, or 204.2, earned by any person in any employment are due and

11   payable twice during each calendar month, on days designated in advance by the employer as the

12   regular paydays. Labor performed between the 1st and 15th days, inclusive, of any calendar

13   month shall be paid for between the 16th and the 26th day of the month during which the labor

14   was performed, and labor performed between the 16th and the last day, inclusive, of any calendar

15   month, shall be paid for between the 1st and 10th day of the following month. However, salaries

16   of executive, administrative, and professional employees of employers covered by the Fair Labor

17   Standards Act, as set forth pursuant to Section 13(a)(1) of the Fair Labor Standards Act, as

18   amended through March 1, 1969, in Part 541 of Title 29 of the Code of Federal Regulations, as

19   that part now reads or may be amended to read at any time hereafter, may be paid once a month

20   on or before the 26th day of the month during which the labor was performed if the entire

21   month’s salaries, including the unearned portion between the date of payment and the last day of

22   the month, are paid at that time.”

23          44.     Labor Code § 204(b)(1) provides as follows: Notwithstanding any other provision

24   of this section, all wages earned for labor in excess of the normal work period shall be paid no

25   later than the payday for the next regular payroll period.

26          45.     Labor Code § 210(a) provides: “In addition to, and entirely independent and apart

27   from, any other penalty provided in this article, every person who fails to pay the wages of each

28   employee as provided in Sections 201.3, 204, 204b, 204.1, 204.2, 204.11, 205, 205.5, and
                                                           10
                                          First Amended Complaint for Penalties
       Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 12 of 17



 1   1197.5, shall be subject to a penalty as follows: (1) For any initial violation, one hundred dollars

 2   ($100) for each failure to pay each employee. (2) For each subsequent violation, or any willful or

 3   intentional violation, two hundred dollars ($200) for each failure to pay each employee, plus 25

 4   percent of the amount unlawfully withheld. (b) The penalty shall either be recovered by the

 5   employee as a statutory penalty pursuant to Section 98 or by the Labor Commissioner as a civil

 6   penalty through the issuance of a citation or pursuant to Section 98.3. The procedures for issuing,

 7   contesting, and enforcing judgments for citations issued by the Labor Commissioner under this

 8   section shall be the same as those set forth in subdivisions (b) through (k), inclusive, of Section

 9   1197.1.

10             46.   Labor Code § 2699(f) provides: For all provisions of this code except those for

11   which a civil penalty is specifically provided, there is established a civil penalty for a violation of

12   these provisions, as follows: (1) If, at the time of the alleged violation, the person does not

13   employ one or more employees, the civil penalty is five hundred dollars ($500). (2) If, at the

14   time of the alleged violation, the person employs one or more employees, the civil penalty is one

15   hundred dollars ($100) for each aggrieved employee per pay period for the initial violation and

16   two hundred dollars ($200) for each aggrieved employee per pay period for each subsequent

17   violation.

18             47.   The weekly stipend Plaintiffs and other au pairs received failed to compensate

19   them at least the minimum wage for all hours worked. Accordingly, Defendants failed to timely

20   pay Plaintiffs and other aggrieved employees their wages due within the intervals required by

21   Labor Code Section 204.

22             48.   Upon resignation or termination, employees were not paid all wages due within

23   the statutory time period. Defendants willfully failed and refused to pay timely compensation and

24   wages for, among other things, unpaid minimum, regular, and overtime wages.

25             49.   Under California Labor Code §§ 210 and 2699, Plaintiffs seek to recover a civil

26   penalty of one hundred dollars ($100) for Plaintiffs and each underpaid employee for the initial

27   violation, and two hundred dollars ($200) for Plaintiffs and each underpaid employee for each

28   subsequent violation, for every pay period in which late payment occurred.
                                                          11
                                         First Amended Complaint for Penalties
       Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 13 of 17



 1          50.     Under California Labor Code § 2699(f)(2), Plaintiffs seek a civil penalty of one

 2   hundred dollars ($100) for each aggrieved employee per pay period for the initial violation of

 3   Labor Code §§ 201 and 203 for Defendants’ failure to pay earned wages upon discharge, and

 4   two hundred dollars ($200) for each aggrieved employee per pay period for each subsequent

 5   violation of Labor Code §§ 201 and 203.

 6                                   Unlawful Deductions and Credits

 7          51.     Labor Code § 221 makes it unlawful for an employer to collect or receive from an

 8   employee any part of wages paid to the employee.

 9          52.     Labor Code § 224 prohibits any deduction from an employee’s wages which is

10   not either authorized by the employee in writing or permitted by law.

11          53.     IWC Wage Order No. 15, § 10(C), provides, in relevant part, that “Meals or

12   lodging may not be credited against the minimum wage without a voluntary written agreement

13   between the employer and the employee.”

14          54.     Defendants had no voluntary written agreement with Plaintiffs or other au pairs to

15   credit meals and housing against Defendants’ minimum wage obligations.

16          55.     Defendants’ policy and practice of taking a credit against minimum wage

17   obligations for housing and meals violates Section 221, 224, and IWC Wage Order No. 15.

18          56.     Labor Code § 225.5 provides that, “In addition to, and entirely independent and

19   apart from, any other penalty provided in this article, every person who unlawfully withholds

20   wages due any employee in violation of Section 212, 216, 221, 222, or 223 shall be subject to a

21   civil penalty as follows: (a) For any initial violation, one hundred dollars ($100) for each failure

22   to pay each employee. (b) For each subsequent violation, or any willful or intentional violation,

23   two hundred dollars ($200) for each failure to pay each employee, plus 25 percent of the amount

24   unlawfully withheld. The penalty shall be recovered by the Labor Commissioner as part of a

25   hearing held to recover unpaid wages and penalties or in an independent civil action. The action

26   shall be brought in the name of the people of the State of California and the Labor Commissioner

27   and attorneys thereof may proceed and act for and on behalf of the people in bringing the action.

28   Twelve and one-half percent of the penalty recovered shall be paid into a fund within the Labor
                                                          12
                                         First Amended Complaint for Penalties
       Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 14 of 17



 1   and Workforce Development Agency dedicated to educating employers about state labor laws,

 2   and the remainder shall be paid into the State Treasury to the credit of the General Fund.”

 3          57.     Similarly, Labor Code § 2699(f)(2) provides for a civil penalty of one hundred

 4   dollars ($100) for Plaintiffs and each aggrieved employee per pay period for the initial violation

 5   of Labor Code §§ 221 and 224.

 6          58.     Accordingly, Plaintiffs seek to recover civil penalties as set forth above for

 7   Defendants’ violations of Labor Code §§ 221 and 224.

 8                                   Failure to Provide Meal Breaks

 9          59.     Cal. Labor Code § 512 provides, in pertinent part, as follows: An employer shall

10   not employ an employee for a work period of more than five hours per day without providing the

11   employee with a meal period of not less than 30 minutes,” and “[a]n employer may not employ

12   an employee for a work period of more than 10 hours per day without providing the employee

13   with a second meal period of not less than 30 minutes.”

14          60.     Cal. Labor Code § 226.7 states in part, “An employer shall not require an

15   employee to work during any meal or rest or recovery period mandated pursuant to an applicable

16   statute, or applicable regulation, standard, or order of the Industrial Welfare Commission.”

17          61.     Defendants failed to provide Plaintiffs and other au pairs with bona fide meal

18   breaks when they were completely relieved from duty, because Plaintiffs and other au pairs

19   remained responsible for the care of the children while they ate their meals.

20          62.     By failing to provide Plaintiffs and other au pairs with these meal periods,

21   Defendants violated California Labor Code §§ 512 and 226.7.

22          63.     Under California Labor Code §2699(f)(2), Plaintiffs seek to recover a civil

23   penalty of one hundred dollars ($100) for Plaintiffs and each aggrieved employee per pay period

24   for the initial violation of Labor Code §§ 226.7 and 512 for failing to provide meal periods, and

25   two hundred dollars ($200) for Plaintiffs and each aggrieved employee per pay period for each

26   subsequent violation of Labor Code §§ 226.7 and 512 for failing to provide meal periods.

27                                      Wage Statement Violations

28          64.     Pursuant to Labor Code § 226(a) and Wage Order No. 15, § 7, Defendants are
                                                         13
                                        First Amended Complaint for Penalties
       Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 15 of 17



 1   required to provide—semimonthly or at the time of each payment of wages—itemized written

 2   statements containing all information described in § 226 and IWC Wage Order No. 15,

 3   including, but not limited to, the total hours worked by the employee.

 4           65.     Defendants failed to comply with the Labor Code by knowingly and intentionally

 5   failing to provide Plaintiffs and aggrieved employees with accurate written statements showing

 6   their actual and total hours worked.

 7           66.     Under California Labor Code § 226.3 which provides for civil penalties for

 8   violations of California Labor Code § 226(a), Plaintiffs seek a civil penalty of two hundred fifty

 9   dollars ($250) for Plaintiffs and each aggrieved employee per violation for the initial violation,

10   and one thousand dollars ($1,000) for Plaintiffs and each aggrieved employee per violation for

11   each subsequent violation of Labor Code § 226(a) for failure to provide timely, accurate,

12   itemized wage statements.

13                                        Recordkeeping Violations

14           67.     Pursuant Wage Order No. 15, § 7, Defendants are required to keep accurate

15   information with respect to each employee, including the following: the total hours worked by

16   the employee, meal periods, total wages paid each payroll period, including value of board,

17   lodging, or other compensation actually furnished to the employee.

18           68.     Labor Code § 1174.5 provides that “Any person employing labor who willfully

19   fails to maintain the records required by subdivision (c) of Section 1174 or accurate and

20   complete records required by subdivision (d) of Section 1174, or to allow any member of the

21   commission or employees of the division to inspect records pursuant to subdivision (b) of

22   Section 1174 , shall be subject to a civil penalty of five hundred dollars ($500).

23           69.     Defendants have failed to comply with the Labor Code by knowingly and

24   intentionally failing to provide Plaintiffs and other au pairs with accurate written statements

25   showing their actual and total hours worked, breaks taken, and value of room and board

26   provided. In fact, Defendants neither maintains records of the hours the worked by its workers,

27   nor does it remit any semimonthly, itemized statement of hours worked and wages earned.

28   Plaintiffs seek a civil penalty of $500 for this violation.
                                                           14
                                          First Amended Complaint for Penalties
       Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 16 of 17



 1                                               Attorneys’ Fees

 2              70.    California Labor Code § 2699(g) further provides that any employee who prevails

 3   in an action for civil penalties is entitled to an award of reasonable attorneys’ fees and costs.

 4   Plaintiffs hereby seek to recover his attorneys’ fees and costs under this fee and cost shifting

 5   statute.

 6                                                 Exhaustion

 7              71.    On March 20, 2020, pursuant to California Labor Code § 2699.3, Plaintiff

 8   Katarzyna Kudlacz sent notice by certified mail to the Labor and Workforce Development

 9   Agency (LWDA) and Defendants of the specific provisions of the Labor Code that have been

10   violated, including the facts and theories to support the violations. The LWDA received this

11   notice on the same day, March 20, 2020. See Letter from Nichols Kaster, LLP to the LWDA and

12   Defendants attached hereto as Exhibit A. The sixty-five-day time limit for the agency to respond

13   has expired, such that Plaintiff has exhausted her administrative remedies.

14              72.    On September 23, 2020, pursuant to California Labor Code § 2699.3, Plaintiff

15   Natalia Bien sent notice by certified mail to the Labor and Workforce Development Agency

16   (LWDA) and Defendants of the specific provisions of the Labor Code that have been violated,

17   including the facts and theories to support the violations. The LWDA received this notice on the

18   same day, September 23, 2020. See Letter from Nichols Kaster, LLP to the LWDA and

19   Defendants attached hereto as Exhibit B. The sixty-five-day time limit for the agency to respond

20   has expired, such that Plaintiff has exhausted her administrative remedies.

21                                         PRAYER FOR RELIEF

22              Based on the above allegations, Plaintiffs respectfully request entry of judgment on

23   behalf of themselves and other current and former employees against Defendants, as follows:

24              1. For civil penalties under Labor Code § 2699 in an amount according to proof;

25              2. For prejudgment interest and post-judgment interest as allowed by law;

26              3. For attorneys’ fees and costs, as authorized under Labor Code § 2699(g)(1);

27              4. For such other and further relief as this Court deems just and proper.

28              5.
                                                            15
                                           First Amended Complaint for Penalties
     Case 1:20-cv-11862-IT Document 311-7 Filed 08/18/23 Page 17 of 17



 1                               DEMAND FOR JURY TRIAL

 2       Plaintiffs demand a trial by jury.

 3
     Dated: June 11, 2021                     RUKIN HYLAND & RIGGIN LLP
 4

 5
                                              By:________________________
 6                                            Matthew C. Helland
 7
                                              PETER RUKIN
 8                                            RUKIN HYLAND & RIGGIN LLP
                                              1939 Harrison Street, Suite 290
 9                                            Oakland, CA 94612
10                                            MATTHEW C. HELLAND
                                              NICHOLS KASTER, LLP
11                                            235 Montgomery Street, Suite 810
                                              San Francisco, CA 94104
12
                                              ALEXANDER HOOD
13                                            TOWARDS JUSTICE
                                              1410 High Street, Suite 300
14                                            Denver, CO 80218
15                                            Attorneys for Plaintiffs
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      16
                                     First Amended Complaint for Penalties
